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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA

 -v.-                                                     S2 24 Cr. 542 (AS)

 SEAN COMBS,
 a/k/a “Puff Daddy,”
 a/k/a “P. Diddy,”
 a/k/a “Diddy,”
 a/k/a “PD,”
 a/k/a “Love,”
                  Defendant.




   MEMORANDUM OF LAW IN OPPOSITION TO THE DEFENDANT’S MOTION
   IN LIMINE TO PRECLUDE EVIDENCE PURSUANT TO RULES 413 AND 404(b)




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                                PRELIMINARY STATEMENT

        The Government respectfully submits this memorandum in opposition to the defendant’s

motion in limine to exclude evidence of the defendant’s sexual abuse of other victims under

Federal Rules of Evidence 413 and 404(b). Since his arrest, the defendant has insisted that every

victim in this case consented to every sex act the Government has identified. Having made plain

his intention to argue at trial that he believed every alleged coercive sex act was consensual, the

defendant has put his knowledge and intent squarely at issue. To resolve that dispute, the jury is

entitled to hear the testimony of

                              . That testimony powerfully establishes that the defendant made no

mistake when he coerced other victims into unwanted sex. It proves that the defendant intended

to take the sexual gratification he wanted, regardless of consent.

        Certain of this evidence is admissible as direct evidence of Count One and should be

admitted on that basis. Further, the Court should admit this evidence both as evidence of “other

sexual assaults” under Rule 413, and as evidence of the defendant’s knowledge, intent, and absence

of mistake under Rule 404(b). The defense’s motion to prevent the jury from hearing this damning

evidence should be denied.

                                        BACKGROUND

   I.      The Charges and Evidence Against the Defendant

        On March 6, 2025, the grand jury returned Indictment S2 24 Cr. 542 charging the defendant

in three counts: 1) racketeering conspiracy, in violation of 18 U.S.C. § 1962(d) (“Count One”); (2)

sex trafficking, in violation of 18 U.S.C. §§ 1591 and 2 (“Count Two”); and (3) interstate

transportation to engage in prostitution, in violation of 18 U.S.C. §§ 2421(a) and 2 (“Count

Three”). (Dkt. No. 169 (“Indictment’)). As charged in the Indictment, the defendant, often



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       B. The Defendant’s Sexual Abuse and Assault of Non-Statutory Victims

          In addition to the Statutory Victims, the defendant, often assisted by other members and

associates of the Enterprise,                                             The Government seeks to

call                              (collectively the “Non-Statutory Victims”), whose accounts are

summarized below.2




2
 On March 7, 2025, the Government provided the defense notice pursuant to Rules 413 and 404(b)
for the victims referenced herein.




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                                         ARGUMENT

I.     THE COURT SHOULD ADMIT EVIDENCE OF THE DEFENDANT’S OTHER
       SEXUAL ASSAULTS AS DIRECT EVIDENCE AND, IN THE ALTERNATIVE,
       UNDER FEDERAL RULES OF EVIDENCE 413 AND 404(b)

       Evidence of the defendant’s sexual assaults of

              is admissible as direct evidence of, among other things, the existence and purposes

of the charged Enterprise, the means and methods used by the defendant to commit Count One,

and the pattern of racketeering activity engaged in by the defendant and others.8 As alleged in

Count One, the purposes of the charged Enterprise was to “[f]ulfill[] the personal desires” of the

defendant, including those related to his “sexual gratification,” enhancing the power of the

defendant through sexual abuse, enabling the defendant and other members and associates of the

Enterprise to engage in, inter alia, acts of sexual violence, and protecting the defendant from

detection and prosecution through intimidation and threats. (Indictment ¶ 11(d), (e), (f) and (g)).

In addition, Count One alleges that one of the means and methods of the Enterprise involved the

defendant threatening “victims’ careers and livelihoods, including if they resisted engaging in sex



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acts with Combs.” (Id. ¶ 12(f), (j), (k)). As alleged in the Indictment, the Government expects to

show that the pattern of racketeering evidence in which the defendant and others engaged involved

a “persistent and pervasive pattern of abuse toward women” and others, including “verbal,

emotional, physical, and sexual” abuse. (Id. ¶ 3).

          Further, all of the testimony regarding the sexual assaults of the Non-Statutory Victims

described above is admissible under Federal Rule of Evidence 413 and to prove the defendant’s

knowledge, intent, and absence of mistake under Rule 404(b). The testimony of these

          constitutes powerful proof that the defendant intended to coerce the Statutory Victims into

unwanted sexual activity, knew that the Statutory Victims did not consent to the charged sex acts,

and did not mistakenly believe that the Statutory Victims were consenting. Given the graphic

testimony that the Statutory Victims will collectively give about years’ worth of beatings, drug-

fueled coercive sex marathons, and multiple rapes, the Non-Statutory Victims’ testimony will be

no more inflammatory than the evidence that the jury will already have before it at this trial.

Accordingly, the highly probative proffered testimony is not unduly prejudicial under Rule 403.

      A. Applicable Law

          1.      Direct Evidence

          Direct evidence of a charged crime is “not confined to that which directly establishes an

element of the crime.” United States v. Gonzalez, 110 F.3d 936, 941 (2d Cir. 1997).9 As the

Second Circuit has explained, “[t]o be relevant, evidence need only tend to prove the government’s

case, and evidence that adds context and dimension to the government’s proof of the charges can

have that tendency.” Id. The Second Circuit has repeatedly held that the Government may

introduce evidence of uncharged criminal acts as background and to prove the existence of the



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    Unless otherwise noted, all citations omit internal citations, quotations, and alterations.


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racketeering enterprise and a pattern of racketeering activity. See, e.g., United States v. Coppola,

671 F.3d 220, 244-45 (2d Cir. 2012); United States v. Payne, 591 F.3d 46, 64 (2d Cir. 2010);

United States v. Mejia, 545 F.3d 179, 206-07 (2d Cir. 2008). “Such conduct is not ‘other’ crime

evidence subject to Fed. R. Evid. 404(b); rather, it is evidence of the very racketeering crimes

charged.” Coppola, 671 F.3d at 245. Evidence of uncharged crimes is also independently

admissible “to complete the story of the crimes charged,” and to “explain to the jury how the illegal

relationship between [participants in the crime] developed.” United States v. Roldan-Zapata, 916

F.2d 795, 804 (2d Cir. 1990); see United States v. Harris, 733 F.2d 994, 1006 (2d Cir. 1984);

United States v. Inserra, 34 F.3d 83, 89 (2d Cir. 1994) (“[E]vidence of other bad acts may be

admitted to . . . demonstrate[e] the context of certain events relevant to the charged offense.”).

       2.      Federal Rule of Evidence 413

       Rule 413 provides that “in a criminal case in which a defendant is accused of a sexual

assault, the court may admit evidence that the defendant committed any other sexual assault. Such

evidence may be considered on any matter to which it is relevant.” Sexual assault, in turn, is

defined as “a crime under federal law or under state law” involving “contact, without consent,

between any part of the defendant’s body—or an object—and another person’s genitals or anus”;

“contact, without consent, between the defendant’s genitals or anus and any part of another

person’s body”; or “an attempt or conspiracy to engage in [that] conduct.” Fed. R. Evid. 413(a),

(d)(2)-(3), (5). Simply put, cases concerning sexual abuse are unique. United States v. Vickers,

708 F. App’x 732, 736 (2d Cir. 2017) (“Sexual assault and child molestation cases are different.”).

In recognition of that fact, the Federal Rules of Evidence permit a court to “admit evidence that

the defendant committed any other sexual assault” and such “evidence may be considered on any

matter to which it is relevant.” Id. (quoting Fed. R. Evid. 413(a)). Indeed, Rule 413 and its




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companions, Rules 414 and 415, depart from Rule 404(b) inasmuch as they permit evidence of

prior acts of sexual assault to prove a defendant’s propensity to commit such acts. See United

States v. Schaffer, 851 F.3d 166, 177-78 (2d Cir. 2017) (“In other words, a prosecutor may use

evidence of prior sexual assaults precisely to show that a defendant has a pattern or propensity for

committing sexual assault.”); United States v. Davis, 624 F.3d 508, 511-12 (2d Cir. 2010) (district

court did not abuse its discretion in admitting at trial a nineteen-year old conviction for child

molestation); United States v. Hadden, No. 23 Cr. 6822, 2024 WL 4456203, at * 2 (2d Cir. Oct.

10, 2024) (affirming admission of evidence of defendant’s other sexual assault and abuse crimes).

“In passing Rule 413, Congress believed it necessary to lower the obstacles to admission of

propensity evidence in a defined class of cases. Its rationale for sexual assault cases includes the

assistance it provides in assessing credibility.” United States v. Enjady, 134 F.3d 1427, 1431 (10th

Cir. 1998); see also Schaffer, 851 F.3d at 178.

       3.      Federal Rule of Evidence 404(b)

       Under Rule 404(b), evidence of a defendant’s prior crimes, wrongs, or acts are admissible

to prove “motive, opportunity, intent, preparation, plan, knowledge identity, absence of mistake,

or lack of accident.” Fed. R. Evid. 404(b). The Second Circuit has “adopted an inclusionary

approach to other act evidence under Rule 404(b), which allows such evidence to be admitted for

any purpose other than to demonstrate criminal propensity.” United States v. Memoli, 648 F.

App’x 91, 93 (2d Cir. 2016) (quoting United States v. Scott, 677 F.3d 72, 79 (2d Cir. 2012)). The

Supreme Court has recognized that other act evidence “may be critical to the establishment of the

truth as to a disputed issue, especially when that issue involves the actor’s state of mind and the

only means of ascertaining that mental state is by drawing inferences from conduct.” Huddleston

v. United States, 485 U.S. 681, 685 (1988). Trial courts, therefore, have broad latitude in




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determining whether to admit evidence pursuant to Rule 404(b), and their rulings will be reviewed

only for abuse of discretion. See Inserra, 34 F.3d at 89. In particular, where a defendant claims

that his conduct has an innocent explanation, evidence of prior acts is admissible to prove that the

defendant acted with the state of mind necessary to commit the offense. See, e.g., United States v.

Martino, 759 F.2d 998, 1005 (2d Cir. 1985); United States v. Gadsden, 300 F. App’x 108, 110 (2d

Cir. 2008); United States v. Bruno, 873 F.2d 555, 561-62 (2d Cir. 1989); United States v. Casimiro,

No. 09 Cr. 497 (NRB), 2011 WL 2714217, at *2 (S.D.N.Y. July 8, 2011). A defendant’s

knowledge and intent are at issue unless the defendant has expressed with sufficient clarity a

decision not to dispute that element of the offense. See United States v. Colon, 880 F.2d 650, 659

(2d Cir. 1989).10 Moreover, the Government may introduce such evidence in its direct case. See

United States v. Zackson, 12 F.3d 1178, 1183 (2d Cir. 1993); see also Inserra, 34 F.3d at 90.

       4.      Federal Rule of Evidence 403

       Whether admitted under Rule 404(b) or 413, prior act evidence is subject to Rule 403,

which authorizes the exclusion of relevant evidence only if its “probative value is substantially

outweighed by the danger of . . . unfair prejudice, confusing the issues, misleading the jury, undue

delay, wasting time, or needlessly presenting cumulative evidence.” Fed. R. Evid. 403. All

evidence of guilt is, of course, prejudicial, in the sense of disadvantaging the defense, but that does

not mean it is “unfairly” prejudicial. Costantino v. Herzog, 203 F.3d 164, 174 (2d Cir. 2000).

Indeed, evidence may be “highly prejudicial” without being “unfairly prejudicial.” Schaffer, 851

F.3d at 182. The Supreme Court has defined “unfair prejudice” as “the capacity of some


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  “[T]o take intent out of a case, a defendant must make some statement to the court of sufficient
clarity to indicate that the issue will not be disputed.’” United States v. Pitre, 960 F.2d 1112, 1119
(2d Cir. 1992). “A defendant may do so either by putting forward a particular theory of defense
or by specifically offering to stipulate.” United States v. Ozsusamlar, 428 F. Supp. 2d 161, 168
(S.D.N.Y. 2006).



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concededly relevant evidence to lure the factfinder into declaring guilt on a ground different from

proof of the specific offense charged.” Old Chief v. United States, 519 U.S. 172, 180 (1997). The

Second Circuit has long made clear that “other act” evidence that is neither “more sensational” nor

“more disturbing” than the charged crimes will not be deemed unfairly prejudicial. Roldan-

Zapata, 916 F.2d at 804; see also Schaffer, 851 F.3d at 183 (finding no error in district court’s

admission of videos depicting minors trying on swimsuits and being fondled by the defendant

where conduct portrayed was “not more inflammatory” than the sexual conduct charged); United

States v. Paulino, 445 F.3d 211, 223 (2d Cir. 2006); United States v. Williams, 205 F.3d 23, 34 (2d

Cir. 2000); United States v. Everett, 825 F.2d 658, 660 (2d Cir. 1987). Put differently, the fact that

evidence may be damning does not render it inadmissible. See United States v. Cirillo, 468 F.2d

1233, 1240 (2d Cir. 1972).

        To the extent there is any risk of unfair prejudice from otherwise probative evidence

admitted under Rule 404(b), the Court may provide limiting instructions to remind the jury that

the defendant is not on trial for any offense other than the crimes charged. See United States v.

Tussa, 816 F.2d 58, 68 (2d Cir. 1987) (limiting instruction sufficient to preclude prejudice to

defendant); see generally Parker v. Randolph, 442 U.S. 62, 75 n.7 (1979) (“The ‘rule’—indeed,

the premise upon which the system of jury trials functions under the American judicial system—

is that juries can be trusted to follow the trial court’s instructions.”).

        B.      Discussion

        Desperately trying to keep this highly probative evidence hidden from the jury, the

defendant suggests first that the charged conduct fails to constitute “sexual assault” under Rule

413 (Mot. at 4-12), and then that evidence of the Non-Statutory Victims is inadmissible under Rule




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404(b) and 403, (id. at 13-27). The defendant’s arguments—which do not address the testimony’s

admissibility as direct evidence—are meritless.11

       As an initial matter, evidence of the defendant’s assaults of

                                                                                    , all of which

was enabled by other members and associates of the Enterprise, is admissible as direct evidence

of Count One. Further, evidence of all                                 is admissible under Rules

413 and 404(b). The defendant’s charged conduct with respect to Victim-3 and Victim-4, which

involved the defendant                                                        , clearly constitutes

sexual assault under Rule 413, as does his sexual abuse of the Non-Statutory Victims. Moreover,

                                                                           is admissible to prove

the defendant’s knowledge, intent, and absence of mistake when coercing all four Statutory

Victims into sexual activity under Rule 404(b). Finally, because evidence concerning the Non-

Statutory Victims is both highly probative and no more inflammatory than the charged conduct, it

is admissible under Rule 403.

       1.     Evidence Regarding                                                   Is Admissible
as Direct Proof of the Racketeering Conspiracy Charged in Count One

       To carry its burden on the racketeering conspiracy in Count One, the Government must

establish, among other things, that (a) the charged racketeering enterprise existed; and (b) the

defendants engaged in a “pattern of racketeering activity” or agreed that the enterprise would be




11
   The Government provided notice of its intent to introduce                   testimony as direct
evidence in its March 10, 2025 Enterprise Letter. In a supplemental letter dated March 26, 2025,
the Government further advised that in addition to moving under Rules 413 and 404(b), the
Government planned to admit evidence relating to                                                as
direct evidence. Because the defendant filed its motion to preclude those victims’ testimony prior
to receiving that supplemental notice, the Government does not object to the defendant raising any
arguments addressing direct evidence in his reply.


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statutes constituting an accusation of sexual assault, instead defining the term to include a variety

of sexual abuse. See Fed. R. Evid. 413(a).13

       Implicitly acknowledging that the Rule is not limited to cases charging a particular list of

statutes, the defendant appears to suggest that the Court should apply the categorical approach to

determine whether a charged offense qualifies as a sexual assault—an approach rejected by

multiple Circuits. See United States v. Foley, 740 F.3d 1079, 1086-87 (7th Cir. 2014) (finding

Rule 413 applied to defendant’s case, even though “the government could prove all of his charged

crimes without proving that he committed an actual sexual assault” because “[t]he focus of the

Federal Rules of Evidence is on facts”); United States v. Brooks, 723 F. App’x 671, 680-81 (11th

Cir. 2018) (finding the categorical approach does not apply to Federal Rule of Evidence 414).14

Courts instead apply a fact-specific inquiry, rather than an elements-based test, to determine

whether a defendant is accused of sexual assault within the meaning of Rule 413.15 See United

States v. Hitt, 473 F.3d 146 (5th Cir. 2006) (affirming application of Rule 413 to Mann Act charge



13
  The defendant is vague about what he believes constitutes a charge of sexual assault in this
context, but he appears to suggest that it must be an offense featuring sexual assault as an element.
(Mot. at 12).
14
  This decision implicitly rejects a district court’s analysis years earlier from within the Eleventh
Circuit, which the defendant cites as persuasive authority. See United States v. Frank, No. 04 Cr.
20778, 2006 WL 8434880, at *5 (S.D. Fla. Nov. 16, 2006).
15
  The first district court decision from within the Eighth Circuit that the defendant highlights does
not appear to the contrary, as that case charged the defendant with transporting the victim with
intent that the victim engage in prostitution with others and not with the defendant himself. See
United States v. Wardlow, No. 13 Cr. 83 (W-DW), 2014 WL 12693076, at *2 (W.D. Mo. Dec. 9,
2014).

      The second district court decision from within the Eighth Circuit that the defendant cites
does not grapple with the preliminary question of whether the categorical approach applies because
the prosecution in that case apparently argued that sexual assault was an element of the kidnapping
crime charged. See United States v. Green, No. 8:06 Cr. 191, 2006 WL 3761989, at *1 (D. Neb.
Dec. 20, 2006).


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where minor victim testified that defendant anally raped him); United States v. Blazek, 431 F.3d

1104, 1108 (8th Cir. 2005) (affirming application of Rule 413 where Indictment’s allegations went

beyond statutory language of 18 U.S.C. § 2423(b) to allege defendant intended to assault minor).

And although the Second Circuit has not been squarely presented with this issue, at least one

district court in this Circuit has applied a similar fact-based analysis and eschewed the categorical

approach when faced with a similar argument. United States v. Wager, 651 F. Supp. 3d 594, 600

(N.D.N.Y. 2023) (rejecting categorical approach and finding Rule 413 applied to defendant

charged with enticement in violation of 18 U.S.C. § 2422(b)); see also Boyce v. Weber, No. 19

Civ. 3825 (JMF), 2021 WL 2821154, at *8-9 (S.D.N.Y. July 7, 2021) (adopting a fact-specific

approach to “companion” Rule 415).

       The one Circuit case the defendant cites is not to the contrary. In United States v.

Courtright, the defendant was charged with production of pornography based on photographs he

took of a minor victim. 632 F.3d 363, 365 (7th Cir. 2011). There, the minor victim had initially

reported that the defendant sexually assaulted her in the course of producing the pornography, but

did not testify about the sexual assault at trial. Id. at 365-67. Accordingly, the facts of the child

pornography production charge established at trial in that particular case did not involve any

accusation of sexual assault and Rule 413 was inapplicable. By contrast, the very same Circuit

concluded that Rule 413 did apply to a different defendant who was charged with production of

child pornography in which the defendant could be seen sexually assaulting the minor victim on

camera. See Foley, 740 F.3d at 1086-87. In other words, the proper analysis turns on the facts

underlying the charge, not on whether sexual assault is an element of the charged offense.

       Here, the facts alleged in connection with the racketeering activity involving the

defendant’s sex trafficking of Victim-3 and forced labor of Victim-3 and Victim-4 put this case




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squarely within Rule 413’s ambit.



                                                                         Simply put, the defendant is

alleged to have committed the racketeering predicates of sex trafficking and forced labor by

committing multiple sexual assaults. As the Second Circuit has explained, in passing this Rule,

Congress “considered knowledge that the defendant has committed [sex crimes] on other

occasions to be critical in assessing the relative plausibility of sexual assault claims and accurately

deciding cases that would otherwise become unresolvable swearing matches.” Schaffer, 851 F.3d

at 178. This is precisely such a case. The defendant will insist that any sexual contact he had with

Victim-3 and Victim-4 was entirely consensual.

                                                                                                 . The

testimony of

     thus lends substantial plausibility to the testimony of Victim-3 and Victim-4.16

      3.     Evidence of the Defendant’s Other Sexual Abuse is Admissible Under Rules
413 and 404(b) and Has Exceptional Probative Value

        The defendant’s                                                   is clearly admissible under

Rule 413 as “other sexual assault[s]” and may therefore be “considered on any matter to which it

is relevant.” Fed. R. Evid. 413(a). But the Court need not even decide the Rule 413 issue, because




16
  In a last gasp effort to avoid the admission of this evidence, the defendant also suggests that
Rule 413 is violative of the Due Process Clause. (Mot. at 9). The inapposite treatises and
authorities he cites are mere subterfuge: every Circuit to consider this issue, including the Second
Circuit, has upheld Rule 413 as constitutional. See Schaffer, 851 F.3d at 177-81; United States v.
Harvel, 115 F.4th 714, 731-36 (6th Cir. 2024); United States v. Porter, 121 F.4th 747, 751-52 (9th
Cir. 2024); United States v. Mound, 149 F.3d 799, 801 (8th Cir. 1998); Enjady, 134 F.3d at 1430-
33; see also United States v. Julian, 427 F.3d 471, 487 (7th Cir. 2005) (rejecting equal protection
challenge to Rule 413).


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the same evidence is also admissible under Rule 404(b) to prove the defendant’s knowledge, intent,

and absence of mistake when coercing all four Statutory Victims to engage in sex acts.

                   i. Rule 413

       Rule 413 allows that evidence of the defendant’s other sexual acts “may be considered on

any matter to which it is relevant.” Fed. R. Evid. 413(a). Here, the defendant’s

        are probative for a significant reason: each testifying Non-Statutory Victim makes more

plausible the testimony of Victim-3 and Victim-4. Indeed, this was exactly why Congress passed

Rule 413: because sexual assault cases often rest on the credibility of the victims and

“[k]knowledge that the defendant has committed [sexual assaults] on other occasions is frequently

critical in assessing the relative plausibility of these claims.” Enjady, 134 F.3d at 1431; see also

Schaffer, 851 F.3d at 178.

       As in many sexual assault cases, the defendant was alone with Victim-3 and Victim-4 when

he assaulted them. Victim testimony is at the heart of this trial, and for that reason the Government

expects that the defendant will attack the credibility of the testifying victims, including through

claims of fabrication, motive to lie, mistake, and faulty memory. Evidence of other sexual assaults

by the defendant answers those attacks, lending credibility to the victims behind the similar

accounts and serving the precise purposes Congress envisioned in enacting Rule 413. See Schaffer,

851 F.3d at 178; Enjady, 134 F.3d at 1431. This evidence is therefore admissible under Rule 413.

                   ii. Rule 404(b)

       The Court need not even decide the disputed issues regarding the interpretation of Rule

413, however, because all of the proffered evidence is also admissible under Rule 404(b) to prove

the defendant had the requisite mens rea to sex traffic Victim-1, Victim-2, and Victim-3 and to

coerce all four of the Statutory Victims to engage in forced labor. The defendant has clearly




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previewed that his main defense to these allegations will be consent and has indisputably put his

knowledge and intent at issue. In other words, the defendant will argue that the Statutory Victims

freely consented to the sexual activity charged within the sex trafficking and forced labor

predicates. That he has previously knowingly and intentionally forced and coerced multiple

women into sexual activity to which they did not consent provides compelling evidence that the

defendant understood the Statutory Victims did not consent to sexual activity and knowingly

proceeded anyway. Thus, evidence of the defendant’s

is admissible under Federal Rule of Evidence 404(b) and is particularly probative of the

defendant’s knowledge that his victims did not consent to sexual contact, intent to sexually gratify

himself regardless of consent, and absence of mistake when engaging in non-consensual sex acts.

                          1.   Intent and Knowledge

       The testimony of the Non-Statutory Victims is particularly probative of the defendant’s

intent and knowledge. To establish sex trafficking as alleged in Count Two, and as a predicate

offense in Count One, the Government bears the burden of proving that the defendant knew or

recklessly disregarded the fact that force, threats of force, fraud, or coercion would be used to

cause Victim-1, Victim-2, and Victim-3 to engage in a commercial sex act. See 18 U.S.C. § 1591;

United States v. Purcell, 967 F.3d 159, 193 (2d Cir. 2020). In addition, with respect to the forced

labor predicate for Count One, the Government must prove that the defendant used physical force,

psychological harm, financial harm, reputational harm, and/or threats of the same to cause all four

Statutory Victims to engage in sex acts. See 18 U.S.C. § 1589(c)(2); United States v. Kelly, No.

22 Cr. 1481, 2025 WL 466673, at *15-*16 (2d Cir. Feb. 12, 2025).

       The defendant’s history of refusing to take no for an answer and intentionally seeking to

gratify his own sexual desires regardless of consent strongly supports the inference that he had the




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same mindset—the same intent—when coercing the Statutory Victims to engage in the charged

sexual activity here. Similarly, evidence that the defendant knew the Non-Statutory Victims did

not want to engage in sexual activity supports the inference that he knew or recklessly disregarded

the fact that he was causing the Statutory Victims to engage in sex acts against their will. See

United States v. Graham, No. 14 Cr. 500 (NSR), 2015 WL 6161292, at *4 (S.D.N.Y. Oct. 20,

2015) (admitting evidence under 404(b) to demonstrate intent since defendant’s prior participation

in kidnapping and forced prostitution defied his “innocent explanation” for the victim’s presence

in his apartment). Thus, when the defendant inevitably argues at trial that he had no clue these

four women did not want the sexual experiences that he demanded, the Government should be able

to point out that someone as practiced as he is in sexual assault surely recognized the signs of non-

consent. And when the defendant claims that he only ever intended to have consensual, loving

sexual experiences with the Statutory Victims, the Government should be able to point out his

repeated intent to sexually gratify himself with unwilling participants.

                          2.   Absence of Mistake

       Finally, evidence of the defendant’s other sexual abuse proves the absence of mistake. The

Government anticipates that the defendant may seek to argue that he mistakenly believed himself

to be engaging in consensual sex acts with the Statutory Victims or that his conduct was invited

by his sexual partners. But

                                      , including in the presence of, or with, third parties. Such

testimony therefore makes plain that the defendant did not act inadvertently or due to a

misconception that his sexual partners were willing participants in this conduct. See Fed. R. Evid.

404(b) (permitting proof of “absence of mistake, or lack of accident”).




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                          3.   The Defendant Has Received Sufficient Notice

       The defendant spends much of his briefing about Rule 404(b) complaining that the

Government’s written Notice is so deficient that evidence of every act identified therein must be

precluded at trial. As an initial matter, the Government notes that despite meet-and-confer sessions

between the parties since issuance of the Notice on March 7, 2025, the only perceived deficiency

defense counsel has raised concerned the identities of the anonymized individuals referenced in

the Notice. Pursuant to the Court’s recent order, the Government provided those names to the

defense on March 17, 2025. As a result, the defendant has sufficient information to understand

the incidents highlighted in the Government’s Notice and the basis for their admission at trial.

       The Notice has since been further fleshed out in the Government’s Jencks Act productions

that the defense received on March 21, 2025 and, with respect to the Non-Statutory Victims, this

very briefing.17 Thus, even setting aside the earlier Notice, the detailed proffer set forth in this

briefing, together with the production of Jencks Act material, more than satisfies the requirement

that the Government “provide reasonable notice” of the evidence it seeks to offer at trial “so that

the defendant has a fair opportunity to meet it,” explain “the permitted purpose for which” the

evidence is offered and “the reasoning that supports that purpose,” and “do so in writing before

trial.” Fed. R. Evid. 404(b)(3). The defendant has therefore received the complete notice required

by Rule 404(b)(3) more than a month in advance of trial. In these circumstances, there is no basis

for the Court to preclude any of this evidence. Cf. United States v. Tranquillo, 606 F. Supp. 2d

370, 383 (S.D.N.Y. 2009); United States v. Fennell, 496 F. Supp. 2d 279, 284 (S.D.N.Y. 2007).




17
  The defendant requested to file the moving brief, rather than respond to the Government’s
motion to admit 413 and 404(b) evidence—which would have contained this additional detail. In
any event, the Government is willing to provide a supplemental notice providing more detailed
analysis of the basis for admissibility should the Court conclude it to be necessary.


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Should the Court conclude that the notice provided to date through the Notice, Jencks Act material,

and this briefing remains insufficient (and it should not), the proper remedy is an order to compel

additional notice, just as this Court did with respect to the identities of the anonymized individuals.

      4.    The Probative Value of the Defendant’s Other Sexual Abuse Evidence
Outweighs Any Potential Prejudice

       Under Rule 403, the probative value of the defendant’s other sexual abuse evidence

outweighs any potential prejudice. Fed. R. Evid. 403. The probative value of the Non-Statutory

Victims’ testimony is strong and well corroborated.




       Further, the conduct involving the Non-Statutory Victims is close in time to the charged

conduct.



                                                 And to the extent the evidence predates the charged

conspiracy, cases conducting Rule 403 analysis in both he 413 and 404(b) context make clear that

even years-old conduct can be relevant. See United States v. O’Connor, 650 F.3d 839, 853 (2d

Cir. 2011); Davis, 624 F.3d at 512; United States v. Larson, 112 F.3d 600, 604-05 (2d Cir. 1997);



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Carrol v. Trump, 124 F.4th 140, 170 (2d Cir. 2024). Accordingly, the conduct is highly relevant

to the charged conduct.18

       Finally, the probative value of the testimony far outweighs any possible prejudice.

Evidence is not unfairly prejudicial solely because it relates to sexual abuse. See Davis, 624 F.3d

at 512; Schaffer, 851 F.3d at 178; Vickers, 708 F. App’x at 736. That is particularly the case where,

as here, the similar-act evidence is no more egregious than the charged acts. Indeed, given the

extensive graphic testimony that the Statutory Victims will collectively give about decades’ worth

of beatings, drug-fueled sex marathons, and multiple rapes, the Non-Statutory Victims’ testimony

will be no more inflammatory than other evidence the jury will hear. See, e.g., Schaffer, 851 F.3d

at 183; United States v. Abu-Jihaad, 630 F.3d 102, 132-33 (2d Cir. 2010). Given the defense’s

likely arguments and attacks on victim credibility in this case and the highly probative nature of

the defendant’s other sexual assault and abuse evidence on the defendant’s knowledge, any

potential prejudice under Rule 403 is easily outweighed.

       Thus, in light of the nature of the allegations in the Indictment, which include a decades-

long scheme involving violence, forced labor, and sex trafficking, brief testimony from the Non-

Statutory Victims regarding other sexual assaults will not be unduly prejudicial or distracting. And

by admitting the evidence under Rule 404(b), the Court can further mitigate any potential prejudice

through a limiting instruction about the purpose for which the evidence is being introduced.




18
  In attempting to undermine the Non-Statutory Victims, the defendant criticizes
                                                                          . (Mot. at 24-26). By the
defendant’s reasoning, then, victims are damned if they do and damned if they don’t file suit: if
they file, they have a financial motive to fabricate and can’t be believed; but if they don’t file, then
nothing serious must have happened, so they can’t be believed. This is precisely the type of double
bind that perpetuates rape myths suggesting only a “perfect” victim can be believed. The law does
not require perfection. Only probative value. The Non-Statutory Victims have that in spades.


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     II.      A PRELIMINARY HEARING IS UNNECESSARY AND INAPPROPRIATE

           Finally, the defendant’s request for a preliminary hearing is a thinly veiled attempt to cross-

examine victims twice. Although the defendant slings plenty of mud about the Non-Statutory

Victims’ accounts, he has yet to produce any contrary evidence and did not attach it to his Motion.

By contrast, the Government has provided detailed proffers of each victim’s anticipated testimony

and corroborating evidence. Further, the accounts of the Non-Statutory Victims and those of the

Statutory Victims corroborate each other. This corroboration, together with the detailed proffers

of each victim’s anticipated testimony, is sufficient to satisfy Rule 104’s low threshold for

reliability.19 Any hearing requiring their testimony would re-victimize the Non-Statutory Victims

by forcing them to face their abuser and endure cross-examination twice. See United States v.

Vafeades, No. 2:14 Cr. 00153 (DN), 2015 WL 9273936, at *5 (D. Utah Dec. 18, 2015) (finding

Rule 413 hearing unnecessary); United States v. Golubski, No. 22 Cr. 40055 (TC), 2024 WL

1199256, at *1 (D. Kan. Mar. 20, 2024) (same); United States v. Berrios-Miranda, 919 F.3d 76,

78-79 (1st Cir. 2019) (affirming denial of defense request to cross-examine victim on basis that it

“would only serve to further victimize him”).

                                             CONCLUSION

           For the foregoing reasons, the Court should deny the defendant’s motion to preclude

evidence of the Rule 413 Victims and grant the Government’s motion to admit their testimony

under Rule 413 and 404(b).




19
  Should the Court deem additional information necessary, however, the Government is also
prepared to provide the more fulsome summaries of each victim’s law enforcement interviews
contained in the Jencks Act material, which has been produced to the defense.


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